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October 30, 2020                                                                               Via ECF

Judge Paul A. Engelmayer
United States District Judge
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

        Re: American Council for the Blind, et al., v. The City of New York, et al., Case
        No. 18-CV-5792 (PAE) (BM)

Hon. Judge Engelmayer:

        Plaintiffs write jointly on behalf of all Parties pursuant to the Court’s October 20,
2020 Order, ECF No. 127, that the parties meet and confer as to the “next steps in, and
future trajectory of, this case.”

        Plaintiffs’ Position

    It is Plaintiffs’ position that since the Court has already identified the lack of APS as
the barrier to meaningful access, Defendants must at minimum prepare a transition plan
to remedy that lack of access over a reasonable period of time. Plaintiffs are prepared
to put forward evidence of safety risks to affected class members where there is a lack
of APS at an intersection. Because of the sheer number of inaccessible intersections
that must be remedied, Plaintiffs suggest that rather than slice and dice which
intersections must be made accessible without respect to cost as compared to the
programmatic access threshold, Defendants develop a transition plan for NYC as a
whole. Plaintiffs are therefore willing to forego additional summary judgment briefing if
Defendants commit to a citywide transition plan for maximal accessibility over some
period of time, which would give Defendants the most flexibility in how to remediate
these barriers and enable Defendants to prioritize intersections with the greatest need
for APS. A global settlement under such a citywide transition plan also has the benefit of
addressing new and altered intersections for which liability is attached without regard to
cost.1



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  Aside from APS installations, Plaintiffs also seek that any settlement agreement address the need for
Defendants to: 1) develop and implement appropriate policies regarding the installation of APS and other
accessibility features for all new and altered intersections; 2) develop and implement policies and
procedures related to maintaining APS and prioritization of APS installation; 3) engage in periodic check-
ins with experts in the industry to assess any potential technological advances in either APS or
alternatives; and 4) agree to post-settlement monitoring and compliance.
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        In the interest of resolving this litigation, Plaintiffs are willing to engage in good
faith settlement discussions with the assistance of Magistrate Judge Moses or a pro
bono mediator for a period of 60 days to determine whether the parties can resolve
these issues through settlement rather than through the Court. Plaintiffs therefore ask
that the Court not schedule at this time but leave open Plaintiffs’ ability to renew its
summary judgment motion as to specific SIPs and Capital Projects in the event the
parties are unable to productively resolve this matter through settlement. Plaintiffs
propose mid-December for an initial meeting with a magistrate judge or mediator so that
parties have time to exchange factual information and determine as to what issues the
parties would most benefit from outside assistance.

   Defendants’ Position

    It is Defendants’ position in the interest of resolving this litigation that the parties
engage in good faith settlement negotiations before either a pro bono mediator, court-
appointed mediator, or the Magistrate Judge. We wish to have a reasonable period of
time to locate a pro bono mediator, if possible, but in the alternative have agreed to
settlement discussions with a court-appointed mediator or the Magistrate Judge if she is
available. We have made this proposal to Plaintiffs and they seem amenable to
proceeding in this fashion. Additionally, in order to ascertain what is possible under the
current fiscal circumstances as well as operationally, we need time to liaise with various
City agencies. Defendants agree that mid-December would be an appropriate
timeframe for an initial settlement conference before a Judge or mediator.

    We have asked Plaintiffs’ counsel if they plan to renew their motion for partial
summary judgement as to Street Improvement Projects (“SIPs”) and Capital Projects on
an intersection-by-intersection basis and they have advised that they would be willing to
forego such motion practice if the parties can reach a reasonable settlement.



         In conclusion, the parties jointly seek a stay of this litigation for 60 days to
engage in settlement discussions with the assistance of either Magistrate Judge Moses
or, if identified, a pro bono or court-appointed mediator, including a stay of any potential
renewal of Plaintiffs’ motion for partial summary judgment as to SIPs and Capital
Projects pending the outcome of these settlement discussions.



                                                  Sincerely,
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           The Court appreciates the parties’ efforts to resolve the remaining issues
           in this case collegially, and grants the joint request for a stay pending
           their settlement negotiations. All litigation activity in the case is hereby
           stayed until Wednesday, December 30, 2020, to enable the parties
           urgently to pursue a mediated settlement. The Court directs the parties
           to submit a joint status letter within 30 days of the issuance of this order,
           and again on December 30, 2020. This stay should be sufficient to
           enable the parties to resolve this matter, if a resolution is attainable. The
           parties should not expect further extensions.

           If a resolution has not been reached by December 30, 2020, the parties
           should propose in their joint letter of that day an expedited schedule for
           resolving issues of liability regarding the open claims in this case and the
           remedy warranted for the claims on which the Court has entered
           summary judgment as to liability. In the event the parties would like the
           Court to renew its reference of this matter to Magistrate Judge Moses for
           settlement purposes, the Court stands ready to do so upon a joint
           application from the parties.


                      SO ORDERED.

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                                         PAUL A. ENGELMAYER
                                         United States District Judge

           November 2, 2020
